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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                    SouthernDistrict
                                                 __________ Districtof
                                                                     of__________
                                                                        Ohio

                  United States of America                           )
                             v.                                      )
        Richard Crosby (a/k/a "Richard Williams")
                                                                     )   Case No.     1:23-mj-858
                                                                     )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of              various dates in 2021-2023       in the county of               (various)        in the
     Southern          District of              Ohio          , the defendant(s) violated:

            Code Section                                                    Offense Description
18 USC 1343                                     wire fraud
42 USC 408(a)(7)(B)                             Social Security number fraud
18 USC 1028A                                    aggravated identity theft




         This criminal complaint is based on these facts:
(see affidavit)




         ✔ Continued on the attached sheet.
         u


                                                                                             Complainant’s signature

                                                                                       Special Agent Frederick Reier
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             10/24/2023
                                                                                                Judge’s signature

City and state:                         Cincinnati, Ohio                       Hon. Karen L. Litkovitz, U.S. Magistrate Judge
                                                                                              Printed name and title
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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION


 UNITED STATES
 v.                                                  Case No.   1:23-mj-858
 RICHARD CROSBY (a/k/a “Richard
 Williams”)                                          Filed Under Seal




                  AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

       I, Frederick Reier, being first duly sworn, hereby depose and state as follows:

                      INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Office of Inspector General, Social Security

Administration. I am currently assigned to the Cincinnati Resident Office, Office of

Investigations. In this capacity, I investigate fraud in Social Security programs including

identity theft, misuse of a social security number, Social Security employee misconduct, and

Social Security benefits fraud. Since 2016, I have received training and investigative

experience in interviewing and interrogation techniques, arrest procedures, search and seizure,

search warrant applications, electronic media and computer investigations, and various other

crimes and investigative techniques including Title III investigations.

       2.      I am familiar with the facts and circumstances of this case. The information

contained in this affidavit is either personally known to me, based upon my interview of various

witnesses and review of various records and publicly available information, or has been relayed

to me by other agents or sworn law enforcement personnel. Because this affidavit is being

submitted for the limited purpose of obtaining a criminal complaint and arrest warrant, I have not

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included each and every fact known to me concerning the investigation. I have set forth only

those facts that I believe are necessary to establish probable cause to support the requested

complaint and arrest warrant.

       3.      Based on my training and experience and the facts as set forth in this affidavit,

there is probable cause to believe that violations of 18 U.S.C. § 1343 (Wire Fraud), 42 U.S.C.

§ 408(a)(7)(B) (False Representation of a Social Security Number), and 18 U.S.C. § 1028A

(Aggravated Identity Theft) have been committed by RICHARD CROSBY (a/k/a Richard

Williams).

                                      PROBABLE CAUSE

       4.      This matter concerns fraud, identity theft and social security number misuse

allegedly perpetrated by RICHARD CROSBY, SSN xxx-xx-5973, a/k/a Richard Williams

(hereafter “CROSBY”) in the Southern District of Ohio. There is probable cause to believe

that CROSBY, a former lawyer, used a false name and social security number, and made

materially false statements over the internet in order to obtain employment as an attorney

with several law firms.

               CROSBY’S Disbarment and Prosecution in Hamilton County

       5.      On November 6, 2020, the Cincinnati Bar Association filed a complaint against

CROSBY with the Board of Professional Conduct of the Supreme Court of Ohio (case 20-065).

The complaint alleged that CROSBY—who was then a licensed attorney—violated numerous

rules of professional conduct. On April 22, 2021, the Board of Professional Conduct entered an

order staying the disciplinary proceedings because CROSBY had indicated his intent to resign

from the practice of law.

       6.      On June 24, 2021, CROSBY was indicted and charged in Hamilton County with
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Felony Theft and Unauthorized Use of Property (case B 2103088). The charges alleged that

CROSBY stole client funds while acting in his capacity as an attorney.

       7.      On September 27, 2021, the Ohio Supreme Court issued an order accepting

CROSBY’s resignation from the practice of law with disciplinary action pending.

       8.      On November 8, 2021, CROSBY was indicted and charged in Hamilton County

with theft and telecommunications fraud (case B 2105212).

       9.      On December 15, 2021, the United States District Court for the Southern District

of Ohio entered an order disbarring CROSBY from practicing in that court (case 2:21-mc-

00036-ALM).

       10.     On May 5, 2022, CROSBY was arrested in connection with both of his pending

Hamilton County criminal indictments. He pled guilty in both cases on May 26, 2023. On June

27, 2023, he was sentenced to probation in both cases.

              CROSBY’s Identity Fraud to Obtain Employment with “Law Firm #1”

        11.   According to records from Google, the account richardcwilliamsesq@gmail.com

was established on April 26, 2021—just four days after CROSBY indicated his intent to resign

from the practice of law under pending disciplinary action, as discussed above. While the

customer information profile for this email account lists Richard Williams as the account

holder, the billing information lists RICHARD CROSBY. The records also show multiple

logins from Internet Protocol (IP) addresses located on servers in the Southern District of Ohio.

       12.    On or about June 1, 2021, CROSBY (using the alias “Richard Williams”) used the

email address richardcwilliamsesq@gmail.com to communicate with attorneys at “Law Firm #1,”

a law firm in Washington, D.C. In these emails, CROSBY (a/k/a Richard Williams) sought


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employment with the firm.

       13.    I have spoken with a partner at Law Firm #1, who explained that the firm briefly

employed CROSBY (posing as Richard Williams) in June 2021. The partner at Law Firm #1

provided me with a photo of “Richard Williams.” This photo depicts CROSBY.




   “Richard Williams” photo from Law Firm #1                RICHARD CROSBY photo from
                                                            Ohio Bureau of Motor Vehicles

       14.    The partner also provided me with a resume that CROSBY (as “Williams”) gave to

the firm. The resume lists an address in North Carolina and lists the email address for “Williams”

as RichardCWilliamsEsq@gmail.com.

       15.    The partner also provided me with a direct deposit form that CROSBY (as

“Williams”) completed. On this form, he asked for his pay to be deposited into an account at PNC

Bank held by an entity called CM Alliance. According to records from the Ohio Secretary of

State, CM Alliance Limited was organized on July 31, 2020 by RICHARD CROSBY. According

to records from PNC Bank, the bank account was opened on March 9, 2021 by RICHARD

CROSBY.

             CROSBY’s Identity Fraud to Obtain Employment with “Law Firm #2”

       16.    On or around September 22, 2022—at which point CROSBY had been disbarred in

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Ohio and arrested on the Hamilton County charges—CROSBY applied for an attorney position

under the alias of “Richard Williams” with “Law Firm #2,” a legal firm based in Miami, Florida.

CROSBY met with a recruiter via Zoom, a video telecommunication service, on at least one

occasion and the recruiter saw his face. During the meeting, CROSBY represented himself as

Richard Williams, a licensed attorney admitted to the bar in New York and the District of

Columbia. CROSBY again confirmed this information to the recruiter in an email originating

from richardcwilliamsesq@gmail.com on October 12, 2022.

         17.   The recruiter ultimately referred CROSBY for interviews with the hiring

manager for the position with Law Firm #2. In October of 2022, the hiring manager conducted

interviews with CROSBY (whom he knew as Richard Williams) over Zoom. The hiring

manager met with CROSBY over Zoom between October 5, 2022, and October 8, 2022. The

hiring manager also met with CROSBY in person between October 19 and October 20, 2022, in

Florida. During these interactions, CROSBY represented himself as a licensed attorney named

Richard Williams who was admitted to the bar in New York and the District of Columbia.

CROSBY stated that he currently resided in the District of Columbia but was planning to move

to Florida. Law Firm #2 ultimately hired CROSBY and extended an offer of employment as an

attorney on October 13, 2022. His starting salary was $185,000 per year, plus a $5,000 signing

bonus.

         18.   On October 17, 2022, CROSBY accepted the offer and was referred to Law Firm

#2’s Financial Controller/Human Resource Officer. The Human Resource Officer sent an email

to richardcwilliamsesq@gmail.com asking CROSBY, whom he knew as Richard Williams, to

fill out onboarding documents including a U.S. Citizenship and Immigration Services Form I-9,

Direct Deposit Form, and IRS Form W-4. CROSBY returned the documents via email from
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richardcwilliamsesq@gmail.com.

       19.    The Form I-9 attached to the email lists CROSBY’s name as Richard Williams

with social security number xxx-xx-9414, and his email as richardcwilliamsesq@gmail.com.

The IRS Form W-4 lists CROSBY’s name as Richard C. Williams with social security number

xxx-xx-9414. It also lists an address for “Williams” in Washington, D.C. The direct deposit

form lists an account at PNC Bank and a woman’s name. I have spoken with the woman, and

she confirmed that she was previously romantically involved with RICHARD CROSBY.

       20.    I showed both the recruiter and the hiring manager a photo from CROSBY’s

Ohio Driver’s License record. They both confirmed that CROSBY is the person they met with

and that he presented himself as Richard Williams. Further, the hiring manager confirmed that

had he been aware of CROSBY’s true identity and that CROSBY was not admitted to the New

York or District of Columbia bar, he would not have hired him.

       21.    Social Security Administration records show that CROSBY’s social security

number is xxx-xx-5973 and that his name is RICHARD CROSBY. The social security number

xxx-xx-9414 (which CROSBY used at Law Firm #2) belongs to the above-referenced woman

with whom CROSBY was previously romantically involved. When I spoke with her, she

confirmed that she did not give CROSBY permission to use her Social Security number. Her

Social Security wage records show wages from Law Firm #2 because CROSBY used her Social

Security number to work there, while CROSBY’s Social Security wage records show no income

from Law Firm #2.

       22.    On the I-9 form, CROSBY also listed the woman’s passport number as the

passport number for “Richard Williams.”

       23.    The New York Office of Court Administration told me that they have no record
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of an attorney with the name Richard Crosby.

       24.    A search of the District of Columbia Bar Member Directory revealed no attorney

with the name Richard Crosby.

       25.    In April 2023, Law Firm #2 received an inquiry from an investigator with the

Clermont County, Ohio, Child Support Enforcement office and thus Law Firm #2 was made

aware of CROSBY’s true identity and fired him. Between October 2022 and March 2023, Law

Firm #2 paid CROSBY approximately $83,269.29 in salary to which he was not entitled.

Additionally, Law Firm #2 paid the recruiter approximately $50,000 to recruit CROSBY.

             CROSBY’s Identity Fraud to Obtain Employment with “Law Firm #3”

       26.    In July 2023—at which point CROSBY had been disbarred in Ohio and

sentenced on the Hamilton County charges—CROSBY, under the alias of Richard Williams,

attempted to obtain employment with “Law Firm #3,” which is based in Coral Gables, Florida.

I have spoken with the Chief Operating Officer of the firm, who explained that CROSBY

responded to a job posting and was interviewed over Zoom on or about July 22, 2023. CROSBY

was then interviewed by senior management of the firm on or about July 24, 2023, over Zoom.

In interviews, CROSBY presented himself as Richard Williams, an attorney licensed to practice

law in the District of Columbia and New York.

       27.    During the hiring process, CROSBY used the email

richardcwilliamsesq@gmail.com to communicate with the firm. On July 26, 2023, CROSBY

sent an email attached with a document that purported to be a screen shot of the name “Richard

Coleman Williams Jr.” in the online DC Bar membership directory.

       28.    I conducted a search of the DC Bar membership directory for “Richard Coleman


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Williams Jr.” and no result came up. However, I conducted a search for Richard Coleman and a

membership listing appeared.

       29.        I compared the purported screen shot that CROSBY sent to the law firm with the

actual screen shot of the listing for Richard Coleman from the DC Bar online directory and

determined that CROSBY altered or fabricated the screen shot to add the last name “Williams”

and then sent it to the law firm. Additionally, CROSBY provided a biography to the law firm.

The document claims that “Williams” is admitted to the bar in the District of Columbia and

New York. As explained above, this is false.

       30.        The firm offered “Williams” a starting salary of $195,000 per year, plus a

$10,000 signing bonus.

       31.        The Chief Operating Officer of Law Firm #3 explained to me that the firm

eventually determined that CROSBY was using a false identity and therefore did not hire him.

                                             CONCLUSION

           32.   Based on the forgoing, I request that the Court issue the proposed complaint and arrest

warrant.

                                      REQUEST FOR SEALING

       33.        I further request that the Court order that all papers associated with this criminal

complaint, including this affidavit, be sealed until further order of the Court. These documents

discuss an ongoing criminal investigation that is neither public nor known to all of the targets

of the investigation. Accordingly, there is good cause to seal these documents because their

premature disclosure may give targets an opportunity to flee/continue flight from prosecution,

destroy or tamper with evidence, change patterns of behavior, notify confederates, or otherwise


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seriously jeopardize the investigation.




                                                Respectfully submitted,


                                                _____________________________
                                                Frederick Reier
                                                Special Agent
                                                Office of Inspector General
                                                Social Security Administration


Subscribed and sworn to before me on October ____,
                                              24 2023.


_________________________________________
HON. KAREN L. LITKOVITZ
UNITED STATES MAGISTRATE JUDGE
 Karen L. Litkovitz
 United States Magistrate Judge




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